Case 3:17-cv-05769-RJB Document 45-5 Filed 03/23/18 Page 1 of 2




                      EXHIBIT 5
                                            Case 3:17-cv-05769-RJB Document 45-5 Filed 03/23/18 Page 2 of 2




                                                             ICE SPC/CDF Volunteer Detainee Wage Payments for Contract Years (CYs) 2009 ‐ 2014
              Facility                Type Payment                 2009                  2010                 2011                   2012          2013          2014              Total
Batavia SPC                        Contractor                              $0.00                $0.00           $41,287.00            $43,041.00    $45,499.00    $39,113.00       $168,940.00
Broward CDF                        Contractor                         $6,472.00           $14,491.00            $28,309.00            $57,422.00    $42,762.00    $32,563.00       $182,019.00
Denver CDF                         Contractor                              $0.00                $0.00           $22,581.00            $23,379.00    $24,728.00     $1,059.00         $71,747.00
El Centro SPC                      Contractor                        $66,552.00           $68,009.00            $65,085.00            $66,736.00    $74,997.00    $13,253.00       $354,632.00
El Paso SPC                        Government                        $47,031.00           $40,592.00            $44,781.00            $46,261.00    $48,978.00    $38,811.00       $266,454.00
Elizabeth CDF                      Contractor                        $14,781.00           $10,974.00            $10,707.00            $12,167.00    $12,745.00    $13,036.00         $74,410.00
Florence SPC                       Contractor                              $0.00          $48,110.00            $45,461.00            $52,058.00    $51,967.00    $44,484.00       $242,080.00
Houston CDF                        Contractor                        $64,700.00           $69,113.00            $77,360.00            $81,716.00    $71,926.00    $35,528.00       $400,343.00
Krome SPC                          Contractor                              $0.00          $57,700.00            $65,919.00            $59,966.00    $41,809.00    $28,563.00       $253,957.00
Northwest Detention Center CDF     Contractor                              $0.00          $90,074.00            $99,129.00           $120,073.00   $127,924.00   $127,196.00       $564,396.00
Port Isabel SPC                    Government                        $61,164.00           $80,141.00            $83,865.00            $93,644.00    $97,300.00    $75,337.00       $491,451.00
San Diego CDF                      Contractor                               N/A                  N/A                  N/A                   N/A           N/A           N/A                N/A
South TX Detention Center CDF      Contractor                        $66,389.00           $64,824.00            $73,097.00            $68,682.00    $68,200.00    $55,800.00       $396,992.00
Total                              Contractor                      $327,089.00           $544,028.00          $657,581.00            $725,145.00   $708,835.00   $504,743.00      $3,467,421.00
Note 1: Payment amounts are for Contract Years.  Facility contract start and end dates in each year are not the same for each facility.




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